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IN THE UNITED sTATEs DISTRICT coURT F\\£D BY%-- °‘o`

FoR THE wEsTERN DISTRICT oF TENNEssEE 8_ 3b
wEsTERN DIVISION 35 Ju\_ 21 l\“ ‘

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’ v z a`="§"\ 3
MARIO BECERRIL and MARIA wm 035 m ~-\1 ‘PH\
ISABEL BECERRIL, Individually

and as Husband and Wife,
Plaintiffs, No. 04-2688 Ml[P

vB.

PHILLIP BARTLETT and WERNER
ENTERPRISES, INC. OF NEBRASKA,

h_d\_r'~_/\.¢\.¢\-...¢\_r-.J-.rv\_¢`_¢~_¢

Defendants.

 

OR.DER GRANTING IN PART PLAINTIFFS' MOTION TO COMPEL DISCOVERY

 

Before the court is plaintiffs' Motion to Compel Discovery,
filed June 14, 2005 (dkt #32). In their motion, plaintiff asks the
court to order defendant Werner Enterprises, Inc. of Nebraska
(“Werner”) to respond to plaintiffs' document requests numbers 19,
21, 22, 23, 24, and 25, which requests seek Werner's financial
information and other documents relating to punitive damages. On
June 30, 2005, Werner filed its response in opposition. Plaintiffs
filed their reply, with leave of court, on July 7, 2005. On July
19, 2005, the court held a hearing on the motion. Counsel for all
interested parties were present and heard. At the conclusion of

the hearing the court, ruling from the bench, GRANTED in part the

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with Ru1e 55 and/or 79(a) FRCP on 2 §§ '05

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motion to compel, as follows:

Financial information relating to a defendant’s net worth is
relevant to determining punitive damages and may be discovered
prior to trial. _§g Caruso v. Coleman Co., 157 F.R.D. 344, 348
(E.D. Pa. 1994)(stating that “when punitive damages are alleged,
the weight of authority requires that a defendant disclose his
financial condition in pretrial discovery without requiring a prima
facie showing of punitive damages to justify the discovery”); see
also North Dakota Fair Housing Council, Inc. v. Allen, 298
F.Supp.2d 897, 899-900 (D.N.D. 2004); Tyson v. Eguity Title &
Escrow Co., No. 00-2559, at 7 (W.D. Tenn. Mar. 28, 2003) (Order on
Pending Discovery Motions)(unpublished); United States v. Matusoff
Rental Co., 204 F.R.D. 396, 401 (S.D. Ohio 2001); CEH, Inc. v. FV
Seafarer, 153 F.R.D. 491, 497-98 (D.R.I. 1994); Mid-Continent
Cabinetrv v. George Koch Sons. Inc., 130 F.R.D. 149, 151-52 (D.
Kan. 1990). Although there may be situations in which punitive
damages discovery may be stayed until later in the litigation, this
case does not present such a situation. Under Tennessee law, a
plaintiff, under certain circumstances, may be entitled to recover
punitive damages against both the tortfeasor and his employer. gee
Anderson v. Latham Trucking Co., 728 S.W.2d 752 (Tenn. 1987);
Huckeby v. Spangler, 563 S.W.Zd 555 (Tenn. 1978); Odom v. Gray, 508

S.W.Zd 526 (Tenn. 1974); Memphis St. Railway Co. v. Stratton, 176

S.W. 105 (Tenn. 1915); see also Coffey v. Fayette Tubular Products,

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NO. Ol-A-Ol-9412, 1995 WL 458990 (Tenn. Ct. App. Aug. 4,
1995)(unpublished), rev'd on other qrounds, 929 S.W.2d 326 (Tenn.

1996); Paul v. Milburn, 275 F.Supp. 105 (W.D. Tenn. 1967).

 

Although Werner argues that, under the facts of this case, the
plaintiffs should not be entitled as a matter of law to recover
punitive damages against Werner - an argument which Werner has also
raised in its recently filed Motion for Partial Summary Judgment ~
the court concludes that the plaintiffs have demonstrated a
sufficient legal basis to proceed with discovery on punitive
damages.

Within thirty (30) days from the date of this order, Werner
shall produce to the plaintiffs documents responsive to document
request numbers 19 and 23, and to request numbers 21 and 22 as
modified. See Hodqes v. S.C. Toof & Co., 833 S.W.2d 896, 901-02
(Tenn. 1992)(identifying at least nine factors that the factfinder
must consider, to the extent relevant, in determining the amount of
punitive damages to award). Regarding request numbers 21 and 25,
these requests ask for documents relating to Werner's “financial
condition” and “financial affairs,” which is overly broad and
vague. Therefore, in responding to requests 21, Werner shall
produce only its financial statements for the past three years.
Werner need not respond to request number 25, as that request seeks
the same information from Werner as request number 21.

Regarding request number 22, the request is hereby modified to

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require production of documents which reflect whether Werner has
been subjected to previous punitive damage awards over the past ten
years and which awards were imposed in umtor vehicle accident
cases.

Regarding request number 24, Werner need not respond to that
request, since Werner did not profit from the conduct at issue in
the lawsuit, and thus Werner's net profits are not relevant to the
issue of punitive damages.

Finally, any commercially sensitive or confidential documents
may be produced subject to a protective order agreed upon between
the parties.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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Date U

 

July 21, 2005 to the parties listed

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Honorable J on McCalla
US DISTRICT COURT

